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IN THE UNITED STATES DISTRICT COURT
F()R THE WESTERN DISTRIC'I` ()F OKLAHOMA

AVALON CORRECTIONAL SERVICES, INC.,
Plaintiff,

V~ Case Nor

 

RAVENSWOOD INVESTMENT COMPANY,
L“P. and RAVENSWOOD INVESTMENTS
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Defendants.\ )
C()MPLAINT F()R DECLARATORY JUDGMENT

NOW COMES Plaintiff, Avalon Correctional Serviees, Inc,, seeking declaratory reiief
against Defendants Ravenswooc.i lnvestnient Con'rpany, L,P,, and Ravenswood Investlnents lll, L.Pn
(eoliectively, “Defendants”) and hereby alleges and states as follows:

INTRODUCTION

lg Tl':is case is an action for declaratory relief pursuant to 28 U.S.C. § .?.QOIl lt arises
from a request, pursuant to Olciaiioma iaw, of the Defendants, Who are shareholders of Piaintiff, to
inspect the books and records of`the Plaintiff, Which is a company incorporated under tire laws of
Nevada‘

2m The laws of Oklahoma and Nevada differ greatly on the amount o'i` information that
a corporation is required to provide to a sharehoider. Under Nevada iaw, a corporation is not
required to permit shareholders to review the books and records of the corporation, as long as the
corporation furnishes its stockholders a detailed, annual financial statement orhas tried the necessary

reports required by section 13 or section l§(_d) of the Secnrities Exchange Act of 1934. Tiiere is no

such exception under Oi<lahoma law.

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3. Plaintit`f has met the requirements oi"` the exception detailed in the Nevada iaw.

4r While it is well settled law that the local law of the state ofincorporation, which is
Nevada in this case, will be applied to determine the rights of a shareholder, Defendant has asserted
that Oklahoma law provides that Defendant is entitled to inspection Plaintit`i` s books and records

51 Plaintifftheret"ote brings this lawsuit to determine whether it is governed by Nevada
or Oklahoma law in regards to Plaintifr"s inspection request

PARTIES

6. Plaintii"f is a Nevada corporation that owns or operates correctional facilities in four
states: Oklahoma, Texas, Colorado, and Wyoniing. Plaintiff" s horne office is located in Ol<lahoina
City, Oi<lalrorna.

7. Der`endants are shareholders of Plaintit`f and are New York limited partnerships with
their principal places of business in the State of New York.

JURISDIC'I`ION AND VENUE

Plaintiff restates the allegations contained in all previous paragraphs as if fully restated
herein

8. This Court has subject matter jurisdiction pursuant to 28 UrS"C‘ §§ 1332 and 2201.
Cornplete diversity exists and the amount in controversy meets the requirements of section l.332, as
Defendants are New Yorl< limited partnerships with their principal places of business in the State
of`New Yorlt and they have issued a voluminous request to inspect and examine books and records
that deal with practically every facet of Det`endant and Defendant’s subsidiaries’ business and
operations, with some requests encompassing a time period of ten ( l 0) years or morel The

assembling of such infonnation, which will require the assistance of attorneys, accountants and

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other professionals will exceed 375,(}00,.00m Additionally, the basis of the request lfor inspection are
false allegations of`misrnanagement, breaches ol" fiduciary, waste ot`corporate assets and self'~dealing
which allege potentially millions of dollars in damages

9q Venue is proper in this Court pursuant to 28 U.S.C. § t.}9l (a), as a substantial part
of the events or omissions giving rise to the claim occurred in the Western District of Ol<lahoma_

BACKGROUND

Plaintift restates the allegations contained in all previous paragraphs as if fully restated
herein

lO( On .lanuary 13, 2008, Piaintiff received a voluminous books and records inspection
demand from i)ei"endants, who demanded to see an extremely wide range of documents and
materials that touches on almost every activity taken by Plaintiff for the past live (5) years and, in
some cases, from the inception of the company

l l. According to Defendants’ demand, it was being made pursuant to OKLA. StAt. tit
iS, §§ l065, lOOZ(A), and l EBU(D). Deferidants assert that any company that is qualified to transact
business in the state ot Oklahoma is subject to section 1065, which provides that any shareholder
may inspect the books and records of a corporation Dei"endants state, “Avalon t t . qualified to do
business in the State of Ol<lahorna on August 26, 1992. Accordingly, Avaton is subject to the
Inspection Statute.”

lZl Plaintit`t`was incorporated in the State ot Nevada on Septenrber l4, i990 and tiied,
as a foreign entity, with the Oklahorna Secretary of State on August 26, 1992.

13n A shareholder’s right to inspect the books and records of`a Nevada company is

governed by NE.V. REV. S`tarn '78.257, Paragraph six (6) of that statute states:

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Except as otherwise provided in this subsection, the provisions ot"this section do not

apply to any corporation that furnishes to its stockholders a detailed, annual financial

statement or any corporation that has filed during the preceding l2 months all reports

required to he filed pursuant to section l3 or section l§(d) ot`the Securities Exchange

Act ol'"1934i t ,.
Plaintil"f has complied with the requirements of this section by furnishing audited, annual financial
statements, as well as quarterly financial statements, to the shareholders "I`herefore, Defendants have
no right, under Nevada law, to inspect the books and records of Plaintil"f

l4, lfPlaintit`f were treated as an Oklahoma corporation, Defendants would presumably
be entitled to inspect the Plaintit`t’ s books and records under Oklahonra law (provided a proper
purpose was shown).\

15. As a result, this Court is being ask to determine whether Oklahonra or Nevada law
is applicable in this situation

FIRST CAUSE OF ACTION
(Declaratory Relief of Conflict of Law)

Plaintit`f` restates the allegations contained in all previous paragraphs as if fully restated
herein

16. 'l"here is a real and actual controversy between Plaintii"i4 and Defendants regarding
whether Oklahoma or Nevada law applies to Defendants’ demand to inspect Plaintift’s books and
records

17r Det`endants contend that Oklahoina law is applicable and that they are entitled to
inspect the hooks and records of the Plaintit`t"l

18, Plaintiff contends that Nevada law is governing, since Plaintiff is a l\levada

corporation, and, therefore, Defendants are not entitled to inspect Plaintit`t"s books and records

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19. Section 303 of the Restaternent(ld) of Con:l"licts states, “Tlie local law of the state of
incorporation will be applied to determine the right of a shareholder to participate in the
administration of the affairs of the corporation . l l ,”

20. Corninent “b” to Section 302 of the Restaternent of Conflicts states, “[u]niforin
treatment oi"`directors, officers and shareholders is an important objective which can only be attained
by having the rights and liabilities of those persons with respect to the corporation governed by a
single lawn This will be the local law of the state of incorporation . . . ”

2 l. In First Nat. City Bank v. Banco Para El Coinercio Exterior de Cuba. 462 U.S. 6l l,
62l ( l 983), the Court held, “tlie law of the state of incorporation normally determines issues relating
to the internal affairs of a corporation” because “[a]pplication oi`that body of law achieves the need
for certainty and predictability of result while generally protecting the justified expectations of
parties with interests in the corporation.”

22.\ lite commonly recognized practice ol" die laws ot" the state of incorporation
governing the internal workings of`a corporation is called the “internal affairs doctrine.” §e_e, _"l_"_l_s§
Acguisition Cot'p. v. lelex Corp., 679 F, Supp. i022 (W.D, Okla, i987).

2.3. Plaintiff owns or operates correctional facilities in four (4) different states Tlie
“internal affairs doctrine” prevents Plaintil"f and its shareholders from being subject to the
inconsistency of five (5) different sets of laws (including l\levada) regarding stock voting rights,
inspection rights, and other internal workings of Plainti.t`i'"h To allow Defendants to forum shop and
proceed with their request under Ol<la.honia law would create uncertainty and unpredictability not

only for Plaintiff, but for Plaintiff’s sliareholders, creditors, and other interested parties

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PRAYER FO,'R RELIEF
WHEREFCRE, Plaintii`f prays for relief as follows:
l. Adeclaratoiy judgment that Nevada law is applicable and precludes Defendants’
request for the inspection of Plaintifi"’ s books and records;

2c An award to Plaintit`f for the costs of this action, including reasonable attorneys’ fees

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and

3. An award of such further reliefl as the Court deems just and appropriate

Respectftiliy subrnitted,

s/ Rodnev Nixon

Eric Gray, OBA # .3548

Rodney Nixon, OBA # 19686
Avalon Correctional Services, inc
l.340l Railway Di"ive

Oklahorna City, Oklahonia 7.31£4
(405) 752~8802

(405) 752~8852 (fax)

e gt"av(?D.avaloncorrections.net
rnixon(E_Da\/aloncoirections.net
Al!orneys for P!crintij

